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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

STEVEN M. MONACELLI,                          §
                                              §
               Plaintiff,                     §
                                              §
v.                                            §       Civil Action No. 3:21-CV-2649
                                              §
CITY OF DALLAS, and OFFICERS                  §
JOHN DOE 1-4. Individually and in             §
his official capacity as a Dallas Police      §
Department Police Officer,                    §
                                              §
               Defendants.                    §

             DEFENDANT CITY OF DALLAS’S MOTION TO DISMISS
      PLAINTIFF’S SECOND AMENDED COMPLAINT, AND BRIEF IN SUPPORT


                                           CITY ATTORNEY OF THE CITY OF DALLAS

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TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Defendant City of Dallas (“City”), pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, files this Motion to Dismiss Plaintiff’s Second Amended Complaint (“Motion”).

Specifically, the City moves to dismiss all claims alleged against it in Plaintiff’s Second Amended

Complaint (ECF No. 25) (the “Complaint”), and respectfully shows the Court as follows:

                                 I.    SUMMARY OF MOTION

        Plaintiff’s prior Complaint, which this Court dismissed for failure to state a claim, largely

mirrors this one.

        Despite having been fully apprised that one prior occurrence of alleged City employee

malfeasance at a protest did not form the requisite “pattern” for Monell liability, the new Complaint

adds no more alleged instances. Despite having been fully apprised that under settled law the then-

DPD Chief Reneé Hall was not the City policymaker, Plaintiff’s new Complaint redoubles his

prior Complaint’s assertions that all of the City’s alleged bad acts flowed from her. And despite

having been fully apprised that one prior alleged occurrence of a bad act could not constitute

“moving force” causation for his injuries, Plaintiff points this Court to nothing beyond speculative

boilerplate.

        Plaintiff adds few new factual allegations but tosses in a handful of new – if vague – policy

and training causes of action that nonetheless sound in the same alleged bad acts complained of in

his prior Complaint. Yet any cause of action Plaintiff could lodge would still fail for the same

reasons for which Plaintiff’s prior Complaint failed: the City had no policy or practice of

condoning the deprivation through force or false arrest of any individual’s rights to protest or any

journalist’s rights to report.




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         Even assuming Plaintiff received the injuries he claims, nothing in the City’s record

alleged in the new Complaint states a claim that the City was plausibly responsible. This case must

be dismissed.

              II. BRIEF PROCEDURAL HISTORY AND FACTUAL SUMMARY

        On October 26, 2021, Plaintiff filed suit under 42 U.S.C. § 1983, asserting claims against

the City and John Doe Officers for the alleged deprivation of Plaintiff’s rights secured by the First,

Fourth, and Fourteenth Amendments to the United States Constitution. (Doc. no. 1.) Plaintiff

subsequently filed his First Amended Complaint on November 1, 2021. (Doc. no. 4.) This Motion

concerns Plaintiff’s Second Amended Complaint. (Doc. no. 25.)

        A. This Court’s Dismissal of Plaintiff’s First Amended Complaint.

        On September 30, 2022, this Court granted the City’s prior Motion to Dismiss Plaintiff’s

First Amended Complaint. (Doc. no. 23.) Plaintiff’s prior Complaint alleged one custom/policy

“of using excessive force against non-threatening, peaceful protestors and journalists covering

protests as a means of intimidation and control” and one failure-to-train claim for the City’s alleged

failure to “institute any training with regard to the range and risks of significant injury from”

certain types of less-than-lethal firearms.” Id. p. 9.

        As to Plaintiff’s policy cause of action, this Court found that the prior Complaint did not

allege a pattern or practice. Specifically, this Court found a prior incident involving a deployment

of a pepper ball weapon at a Botham Jean protest in 2018 and the activities on the evening prior to

the alleged deprivations here were insufficient to constitute a “‘persistent, widespread practice’

that is ‘so common and well settled as to constitute a custom that fairly represents municipal

policy.’” Id. pp. 12-14. (citing Piotrowski v. City of Houston, 237 F.3d 567, 579 (5th Cir. 2001)).

        Critically, this Court explained that

        former Chief Hall is not a final policymaker and any alleged statement she made in


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         2018 is, therefore, insufficient to connect the alleged unconstitutional policy to the
         City’s actual policymaker, the City Council.

Id. p. 14.

         Further, this Court found that Plaintiff had failed to state a claim as to the identity, and

alleged deliberate indifference, of the City’s policymaker. This Court expressly held that binding

precedent has always determined that the City’s policymaker is the City Council, not a DPD

official:

         For these reasons, the court concludes as a matter of law that former [DPD] Chief
         Hall is not a final policymaker for the City with respect to the official policies or
         customs alleged in Plaintiff’s § 1983 claims. Moreover, Plaintiff has failed to allege
         any facts that the City’s actual policymaker, the City Council, had actual or
         constructive knowledge of any patterns, customs, policies, or practices of City
         employees misusing KIPs against protestors or journalists.

Id. p. 18. (emphasis added.)1

         This Court also found Plaintiff’s failure-to-train allegations did not state a claim. Id. pp.

19-21.

         Other than conclusory allegations and boilerplate recitations, the Amended
         Complaint does not contain sufficient allegations to state a plausible claim that the
         City’s training policies or procedures were inadequate, let alone facts that could
         state a claim that the need for more or different training was obvious. As previously
         discussed, Plaintiff fails to allege facts from which the court can reasonably infer a
         pattern of similar constitutional violations.

Id. at p. 21.

This Court’s Order permitted Plaintiff an opportunity to file an amended complaint to cure any

deficiencies. Id. p. 22.

         The new Complaint does not allege any significant new facts regarding the gravamen of

Plaintiff’s particular grievance: he purports to be a journalist who was arrested without probable



1
  This Court also found Plaintiff had failed to state facts from which this Court could infer “moving force” causation
for this policy claim. Id. pp. 18-19.


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cause in violation of his First Amendment rights and struck by a less-than-lethal weapon in

violation of his Fourth Amendment rights during the 2020 George Floyd protests.2 Compare Am.

Compl. (Doc. no. 4) ⁋⁋ 17-44 with 2d. Am. Compl. (Doc. no. 25) ⁋⁋ 35-66.

          Plaintiff’s new Complaint lodges five causes of action against the City: (1) “Failure to

Adopt Policies and Training,” 2d. Am. Compl. ⁋⁋ 115-24; (2) “Municipal Liability – Unlawful

Arrest,” id. ⁋⁋ 125-36; (3) “Municipal Liability – Excessive Use of Force,” id. ⁋⁋ 137-48; (4)

“Municipal Liability – Failure to Discipline,” id. ⁋⁋ 149-58; (5) “Municipal Liability – First

Amendment,” id. ⁋⁋ 159-65.3

          The new Complaint does not allege any new patterns or practices of First or Fourth

Amendment violations of journalists for protestors’ rights. Instead, it again cites a single incident

of Pepper Ball deployment in 2018 and incidents the evening prior to Plaintiff’s alleged injury.

See Am. Compl. ⁋⁋ 49-55; 2d. Am. Compl. ⁋⁋ 71-79.

          In its place, as explained below, Plaintiff’s new Complaint (1) doubles down on Plaintiff’s

prior attempts to claim the then-DPD Chief was the City’s policymaker; and (2) claims certain

police regulations (“General Orders”) are deficient. This Motion seeks dismissal of all causes of

action.

             III.     APPLICABLE LEGAL STANDARDS FOR 12(b)6 DISMISSAL

          Rule 12(b)(6) provides for dismissal of a claim if the complaint fails to state a claim upon

which relief can be granted. Fed. R. Civ. P. 12(b)(6). A motion to dismiss under Rule 12(b)(6)




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  The City will not repeat the salient facts of the case, all of which are summed up in this Court’s prior dismissal order.
See generally, doc. no. 23. Instead, the City will focus on Plaintiff’s attempts to “cure” the deficiencies in his prior
Complaint.
3
  Plaintiff’s prior Complaint lodged three causes of action: (1) “Violation of Plaintiff’s First and Fourteenth
Amendment Rights,” Am. Compl. ⁋⁋ 81-89; (2) “Violation of Plaintiff’s Fourth Amendment Right (Unlawful
Seizure),” id. ⁋⁋ 90-94; and (3) “Violation of Plaintiff’s First, Fourth, and Fourteenth Amendment Rights,” id. ⁋⁋ 95-
111.


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tests the legal sufficiency of the claims stated in the complaint and must be evaluated solely on the

basis of the pleadings. Jackson v. Procunier, 789 F.2d 307, 309 (5th Cir. 1986). The allegations

contained in the complaint are to be construed in the plaintiff’s favor and all well-pleaded facts are

to be accepted as true. In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007)

(quoting Martin K. Eby Constr. Co. v. Dall. Area Rapid Transit, 369 F.3d 464, 467 (5th Cir.

2004)). However, conclusory allegations and legal conclusions couched as factual allegations are

not to be accorded a presumption of truth. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(recognizing that “the tenet that a court must accept as true all of the allegations contained in a

complaint is inapplicable to legal conclusions”); Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

555 (2007) (citing Papasan v. Allain, 478 U.S. 265, 286 (1986) (emphasizing that on a motion to

dismiss, courts “are not bound to accept as true a legal conclusion couched as a factual

allegation”)); Kaiser Alum. & Chem. Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d 1045, 1050

(5th Cir. 1982) (“Although we must accept as true the well-pleaded allegations of a complaint . . .

we do not accept as true conclusory allegations in the complaint”); see also Fernandez-Montes v.

Allied Pilots Ass’n, 987 F.2d 278, 284 (5th Cir. 1993) (legal conclusions masquerading as factual

assertions are insufficient to prevent dismissal for failure to state a claim). While the complaint

need not contain “detailed factual allegations,” the plaintiff must plead “more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Twombly,

550 U.S. at 555. Therefore, and critically, “[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678 (citing

Twombly, 550 U.S. at 555).

       Furthermore, the alleged facts must be enough to raise a right to relief above the speculative

level. Twombly, 550 U.S. at 555 (abrogating Conley v. Gibson, 355 U.S. 41 (1957)). Thus, to




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survive a motion to dismiss made pursuant to Rule 12, a complaint must contain sufficient factual

matter, accepted as true, to “state a claim for relief that is plausible on its face.” Id. . at 570. “A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

at 678 (citation omitted). “The plausibility standard is not akin to a ‘probability requirement,’ but

it asks for more than a sheer possibility that a defendant has acted unlawfully.” Id. (citation

omitted). If a complaint pleads facts that are “merely consistent with” a defendant’s liability, it

stops short of the line between possibility and plausibility of entitlement to relief. Id.. (internal

quotation marks and citation omitted). “[W]here the well-pleaded facts do not permit the court to

infer more than the mere possibility of misconduct, the complaint has alleged—but it has not

‘show[n]’—‘that the pleader is entitled to relief.’” Id. at 679 (applying Fed. R. Civ. P. 8(a)(2)

(requiring “a short and plain statement of the claim showing the pleader is entitled to relief[]”)).

                              IV. ARGUMENT AND AUTHORITIES

       Plaintiff seeks to hold the City liable under 42 U.S.C. § 1983, which makes liable “[e]very

person” who, under color of state law, violates federal constitutional rights. For this purpose,

municipal entities like the City qualify as “persons.” Monell v. Dep’t of Soc. Servs., 436 U.S. 658,

690 (1978). But the City “cannot be held liable under § 1983 on a respondeat superior theory.” Id.

Isolated unconstitutional actions by municipal employees will almost never trigger municipal

liability. Piotrowski, 237 F.3d at 578 (citations omitted). Rather, to hold the City liable under §

1983 a plaintiff must establish that an “official policy” of the City itself—and not the policy of an

individual city official—was the “moving force” and actual cause of the loss of constitutional

rights and any resultant harm. Id.

       Thus, to state a § 1983 claim against the City, the Complaint must allege sufficient facts to

permit the reasonable inference 1) that a constitutional violation occurred, and 2) an “official


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policy” attributable to the City’s policymakers that 3) “was the moving force” behind it. Littell v.

Hous. Indep. Sch. Dist., 894 F.3d 616, 622–23 (5th Cir. 2018); see Peña v. City of Rio Grande,

879 F.3d 613, 621 (5th Cir. 2018); Groden v. City of Dallas, 826 F.3d 280, 283–85 (5th Cir. 2016).

       At the pleading stage, a plaintiff alleging a Monell claim “has two burdens: to [plausibly

allege] (1) that a constitutional violation occurred and (2) that a municipal policy was the moving

force behind the violation.” Sanchez v. Young County, 956 F.3d 785, 791 (5th Cir. 2020) (citing

Monell, 436 U.S. at 694); see also Hutcheson v. Dallas County, 994 F.3d 477, 483 (5th Cir. 2021)

(rejecting the argument that a district court errs by dismissing a Monell claim without first

analyzing the underlying constitutional violation). Thus, even if Plaintiff has alleged plausible

constitutional violations, which the City does not concede, Plaintiff survives the City’s motion to

dismiss their Monell claims only by

       identify[ing] “(1) an official policy (or custom), of which (2) a policy maker can be
       charged with actual or constructive knowledge, and (3) a constitutional violation
       whose moving force is that policy (or custom).” Pineda v. City of Hous., 291 F.3d
       325, 328 (5th Cir. 2002) (cleaned up). Municipalities are not liable “on the theory
       of respondeat superior” and are “almost never liable for an isolated
       unconstitutional act on the part of an employee.” Peterson v. City of Fort Worth,
       588 F.3d 838, 847 (5th Cir. 2009).

Hutcheson, 994 F.3d at 482; see also Brown v. Tarrant County, 985 F.3d 489, 497 & n.11 (5th Cir.

2021) (noting that where a plaintiff’s claim fails as to one prong, a court “need not consider

whether [his] claim also fails the other two Monell prongs”) (citing Zarnow v. City of Wichita

Falls, 614 F.3d 161, 168-69 (5th Cir. 2010)).

       As to alleging an official policy, “[t]o proceed beyond the pleading stage, a complaint’s

‘description of a policy or custom and its relationship to the underlying constitutional violation . .

. cannot be conclusory; it must contain specific facts.’” Peña, 879 F.3d at 622 (quoting Spiller v.

City of Tex. City, Police Dep’t, 130 F.3d 162, 167 (5th Cir. 1997) (footnote omitted). And, “‘[t]o




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establish a custom, a plaintiff must demonstrate (and, at the pleading stage, must plausibly plead)

‘a pattern of abuses that transcends the error made in a single case.’” Pinedo v. City of Dallas, No.

3:14-cv-958-D, 2015 WL 5021393, at *5 (N.D. Tex. Aug. 25, 2015) (quoting Piotrowski, 237 F.3d

at 582); see also James v. Harris County, 577 F.3d 612, 617 (5th Cir. 2009) (“Official policy can

arise in various forms. It usually exists in the form of written policy statements, ordinances, or

regulations, but may also arise in the form of a widespread practice that is ‘so common and well-

settled as to constitute a custom that fairly represents municipal policy.’” (quoting Piotrowski, 237

F.3d at 579 (quoting, in turn, Webster v. City of Houston, 735 F.2d 838, 841 (5th Cir. 1984) (en

banc))).

       Plaintiff’s new Complaint rewords his prior causes of action, but the substance of them is

the same: the City, he alleges, maintains unconstitutional policies and fails to train/supervise its

employees. As this Court has noted, failures to train, supervise, and discipline are all analyzed the

same. Jean v. City of Dallas, Texas, 2019 WL 7195308, at *5 n.6 (N.D. Tex. Aug. 12, 2019), report

and recommendation adopted, 2019 WL 7187104 (N.D. Tex. Dec. 23, 2019)( “Although Plaintiffs

separately assert claims for failure to train and failure to supervise or discipline, the elements

required to prove a claim under either theory are the same.”) Regardless, all of Plaintiff’s theories

fail for lack of an unconstitutional policy, deliberate indifference, and causation.

       A. The Complaint’s New Allegations Fail to State A Claim.

       Given that Plaintiff’s new Complaint largely mirrors his prior pleading, the City will not

rehash its arguments at length. The City will focus this Motion on Plaintiff’s handful of

modifications found in his new Complaint.




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                a. The DPD Chief Was Not the City’s Policymaker – Yet Plaintiff’s
                   Complaint Alleges All Unconstitutional Acts Originated By and Through
                   Her Alone.

        This Court rejected Plaintiff’s prior attempt to allege that the City’s policymaker at the

time of the incidents at issue in this case was former DPD Chief Hall. (Doc. no. 23 pp. 16-17.) As

this Court noted,

        [i]n 2016, the Fifth Circuit in Groden revisited the question in a § 1983 action of
        “just who is the policymaker of the city of Dallas.” The court answered the question
        by “consulting [its] binding precedent,” and stated that, “under Texas law, the final
        policymaker of the city of Dallas is the Dallas city council.”

Id. p. 17. (citation omitted).

        Since 2016, just like before, litigants have nonetheless attempted to plead that the DPD

Chief is the City’s policymaker and claim he/she has personally enacted unconstitutional policies

and been deliberately indifferent to citizens’ rights – presumably to avoid the inevitability of

dismissal due to the complete absence of unconstitutional policies or indifference on the City

Council’s part. This Court has rejected those and thereafter found plaintiffs had therefore failed to

meet the “policy” prong of Monell. For example, this Court found a plaintiff’s claims failed

because he specifically claimed Chief Hall had promulgated an unconstitutional policy: “His

allegations are not deficient because he fails to identify a policymaker, but because he affirmatively

identifies an individual, the police chief, who is not the City of Dallas’s policymaker as a matter

of law, absent special delegation.” Trotter v. City of Dallas, Texas, No. 3:19-CV-1327-L-BT, 2020

WL 5260546, at *6 (N.D. Tex. Aug. 14, 2020), report and recommendation adopted, No. 3:19-

CV-1327-L-BT, 2020 WL 5250548 (N.D. Tex. Sept. 2, 2020) (emphasis added). Indeed, in recent

litigation related to the very same 2020 George Floyd protests, this Court found that similar facts

pled did not show Chief Hall had been delegated policymaking authority. Dobbins v. City of

Dallas, No. 3:20-CV-1727-K, 2021 WL 4395817, at *5 (N.D. Tex. June 24, 2021), report and



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recommendation adopted, No. 3:20-CV-1727-K, 2021 WL 3781927 (N.D. Tex. Aug. 25,

2021), appeal dismissed, No. 21-10983, 2021 WL 7829760 (5th Cir. Dec. 16, 2021) (rejecting

arguments that City Council had delegated policymaking power to Chief Hall.)

       Plaintiff makes several attempts, and fails, to plead his way around the settled case law.

The City addresses each in turn.

               1. The City’s Charter Never Delegated Policymaking Authority to the DPD
                  Chief.

       Despite this Court’s repeated rejections of this very same argument, Plaintiff claims that

the City’s Charter grants the DPD Chief policymaking authority where it “delegates that the DPD

Chief ‘shall have immediate direction and control of the [DPD] . . . and shall promulgate all orders,

rules, and regulations for government of the [DPD].” Compl. ⁋ 17. (citing Dallas, Tex., Charter

ch. XII, § 2(1)). This Court has continually ruled that this section of the City’s Charter does no

such thing, as“[t]his authority . . . does not permit the court to conclude as a matter of law that the

Chief of Police is a final policymaker for the City.” Pinedo, 2015 WL 221085, at *5 (referring to

Dallas, Tex., Charter ch. XII, § 2(1)). “Rather, this section of the City’s charter indicates the chief

of police is subject to the city manager’s supervision and does not have final authority to establish

municipal policy with respect to police procedures.” Trotter, 2020 WL 5260546, at *7 (citation

omitted.) Indeed, “[t]his Court has considered this particular language from the City’s charter on

several occasions ‘and concluded that the delegation it contains demonstrates that the Chief of

Police is not the final policymaker for the Dallas Police Department because [she] is at all times

subject to the rules and supervision of the City Manager.’” Id. (quoting Pinedo, 2015 WL 221085

at *5) (emphasis in original); see also Hughes v. City of Dallas, No. 3:18-CV-1770-B, 2020 WL

4670659, at *4 (N.D. Tex. Aug. 11, 2020) (Boyle, J.) (declining to accept amended complaint “to

the extent that it finds that Hughes has alleged a plausible claim of municipal liability against the



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City of Dallas” where plaintiff’s “amended complaint lack[ed] . . . factual allegations to show that

it is plausible that Chief Brown was a final policymaker.”); Mosser v. Haney, No.

CIV.A.3:03CV2260-B, 2005 WL 1421440, at *4 (N.D. Tex. June 17, 2005) (analyzing City

Charter and finding “[t]he Chief of Police is not the policymaker for Dallas’s police department,

as he remains subject to the rules and supervision of the City Manager.”)

       In sum, Plaintiff’s reliance on his misinterpretation of the City’s Charter cannot permit a

reasonable inference that the City delegated policymaking authority to the DPD Chief.

               2. The City Code Does Not Expressly Delegate Policymaking Authority to the
                  DPD Chief.

       This Court’s dismissal order identified a fatal flaw in Plaintiff’s prior attempts to designate

the former DPD Chief as the City’s policymaker:

       In advancing his argument that former Chief Hall is a policymaker, Plaintiff
       confuses “final decisionmaker” with “policymaker.” In Bolton, the Fifth Circuit
       distinguished “between final decisionmaking authority and final policymaking
       authority.” Bolton v. City of Dallas, Tex., 541 F.3d 545, 548 (5th Cir. 2008). That
       an official has the discretion to make the final decision over a particular function
       does not necessarily mean that the official has final policymaking authority over
       that function. Id. at 549 (footnote and citation omitted).

(Doc. no. 23 n.6)

In his new Complaint, Plaintiff attempts to confuse the terms again – this time by citing the Dallas

City Code.

       Plaintiff cites City Code provisions that provide various powers for the DPD Chief of

Police as though they are express delegations of policymaking authority. For example, he alleges

that the City Code delegates the DPD chief with “final authority” regarding assigning DPD

officers’ their round of duty. Compl. ⁋ 18 (citing Dallas City Code Ch. 37.) Further, he alleges the

City Code’s grant of authority to “oversee the administration of the [DPD] in accordance with”

the City’s Charter “expressly delegates” the DPD Chief policymaking authority. Id. ⁋ 20 (citing



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same.) He also cites DPD’s own internally-produced General Orders to assert, presumably, the

DPD has granted itself policymaking authority. Id. ⁋ 21.

         None of the above, or anything else cited in the Complaint, amount to an express delegation

of actual policymaking authority.4 Instead, Plaintiff portrays the City Code’s assignment of general

administration to the DPD Chief as the City Council’s relinquishment of its powers. To hold that

assignment of such authorities transmogrifies a decisionmaker into a policymaker would

effectively render Monell liability into respondeat superior. In the Bolton decision, the Fifth

Circuit quoted the Seventh Circuit’s summation as to why:

         [i]f it were enough to point to the agent whose act was the final one in a particular
         case, we would have vicarious liability. Action in the course of one’s duty is the
         basis of vicarious liability. That a particular agent is the apex of a bureaucracy
         makes the decision “final” but does not forge a link between “finality” and “policy.”

Bolton, 541 F.3d at 549 (quoting Auriemma v. Rice, 957 F.2d 397 (7th Cir.1992)).

Simply put, “[t]he finality of an official’s action does not therefore automatically lend it the

character of a policy.” Id. at 550.5

         While the DPD Chief is vested with administrative powers – some of which may fairly be

characterized as “final” – the City Council never delegated its policy powers to the DPD Chief.

No case law exists that shows the City Code has conferred anything other than normal

decisionmaking powers.


4
  Plaintiff also references City Charter provisions that grant the DPD Chief the right to discipline officers for breaking
laws or other misbehavior. Compl. ⁋⁋ 33-34. Countless government officials throughout the State – including many
within the same police departments – possess the power to discipline employees. The City is unaware of any Monell
case law that ascribes municipal liability based on an official’s acts purely because they had disciplinary authority.
5
  Plaintiff attempts to prop up his administrative-as-policymaking authority claims by noting that DPD Chiefs have
announced new procedures and internal “policies,” even quoting a newspaper that describe a DPD Chief as
implementing “a host of policies.” Compl. ⁋⁋ 22-30. He also cites a single line in the City Code’s designation of the
Chief’s powers that describes his or her ability to prevent crime and arrest offenders as “the same powers as the
sheriff,” as, in effect, nullifying all other City Charter and Code designations of City Council policymaking authority
over law enforcement because of how courts have interpreted laws related to elected county sheriffs. Id. ⁋ 19. If
repurposing non-lawyers’ use of words that also happen to be jurisprudential terms of art is sufficient to state a legal
claim, then facts and case law will give way to mere recitations of cherrypicked shibboleths.


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       The Complaint does not allege the City Council was or should have been aware of any

alleged policy or training shortcomings, much less the promulgator of same, even though it has

been repeatedly found that the City Council is the policymaker for the City. Bolton, 541 F.3d at

550. Instead, all alleged unconstitutional policies and deliberate indifference come by way of then-

Chief Hall. See, e.g. Compl. ⁋⁋ 77-78 (“ . . . DPD Chief Hall was aware that there was a substantial

likelihood that DPD officer would fire KIPs directly into crowds . . . [yet] failed to implement any

policies to prevent this . . . “) Indeed, throughout Plaintiff’s causes of action, he repeats his

assertion that Chief Hall was the source of the improper policies. See id. ⁋ 117 (the City “under

delegated official policymaker DPD Chief Hall . . . “); id. ⁋⁋ 128-29 (alleging Chief Hall “created

and promulgated” City’s allegedly problematic “mass arrest policies” in DPD General Order

609.00); id. ⁋⁋ 139-40 (alleging same); id. ⁋ 154 (“As a result of the single incident exception,

Defendant, under DPD Chief Hall, was deliberately indifferent . . . “); ⁋ 161 (“Defendant, through

delegated official policymaker DPD Chief Hall, utilized DPD General Orders . . . to suppress

Plaintiff’s rights . . .”); ⁋ 163 (“The policy [of violating the First Amendment] delineated above

was implemented and promulgated by DPD Chief Hall with deliberate indifference . . .”)

       Therefore, because Plaintiff specifically pleads that the DPD Chief was the relevant

“policymaker” and was the ultimate source of all of Plaintiff’s alleged deprivations, all roads that

lead to City liability must pass through her.

       It is true that the Fifth Circuit has found that “plaintiffs can state a claim for municipal

liability as long as they plead sufficient facts to allow the court to reasonably infer that the

[policymaker] either adopted a policy that caused [the] injury or delegated to a subordinate officer

the authority to adopt such a policy.” Longoria Next Friend of M.L. v. San Benito Indep. Consol.

Sch. Dist., 942 F.3d 258, 271 (5th Cir. 2019) (citation omitted.) However, as in Trotter, Plaintiff




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here “affirmatively pleaded” that the police chief is the City’s policymaker responsible for the

policy he alleges is unconstitutional. Therefore, [Plaintiff’s] § 1983 municipal-liability claim fails

because the chief of police is not the City of Dallas’s policymaker . . .” Trotter, 2020 WL 5260546,

at *8. Consequently, as was the case in Dobbins and as in Trotter, at the outset, Plaintiff’s

“municipal-liability claim fails because the chief of police is not the City of Dallas’s policymaker

as a matter of law, absent special delegation, and [Plaintiff does] not allege the city council

delegated policymaking authority to the police chief . . .” regarding any of the alleged

unconstitutional policies or training failures. Id.

                 b. Plaintiff Pleads No Facts from Which This Court Can Infer Any Written
                    City Policies Were Unconstitutional.

        Employing boilerplate, Plaintiff now claims his false arrest was the result of DPD General

Order 609.00. Compl. ⁋ 64. The new Complaint claims “DPD General Order 609.00” governs

“mass arrests” and is unconstitutional because it “fails to include a requirement that charges

resulting from mass arrests are bound by sufficient probable cause; instead it only requires that

arrests be approved by a supervisor from the DPD Patrol Division Investigative Unit.”6 Compl. ⁋⁋

64-65. First, without the actual text of the General Order, this Court (and the City) must simply

assume Plaintiff’s descriptions are accurate. Second, Plaintiff attempts a sleight of hand by

claiming that since the specific General Order allegedly did not specifically mention probable

cause for arrests, the General Order somehow gave free rein to City employees to disregard all

other training, General Orders, and constitutional restrictions regarding probable cause. Plaintiff

does not allege the “mass arrests” procedures or General Orders superseded other City rules or




6
  Plaintiff claims the then-DPD Chief promulgated the General Orders. Id. 107. As noted above, the DPD Chief is not
the City policymaker, so and claims that any General Orders were constitutionally defective – without actual or
constructive knowledge on the City Council’s part – necessarily fail.


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represented the City’s final and sole word on arrests, but simply claims it did not mention one of

the many constitutional protections to which citizens are entitled.7

         Plaintiff makes a similar claim about General Order 902.00, which “did not include any

provisions outlawing or prohibiting officers from firing or deploying direct contact hits into a

crowd.” Compl. ⁋ 75. This, Plaintiff claims, means “DPD Officers thus followed DPD policies

whenever they fired KIPs directly at a crowd.” Id. Taking, again, Plaintiff’s word that a General

Order did not specifically prohibit misuse of force still does not mean it abrogated all other

restrictions on misuse of force, much less represented the final word on City policy.

         At bottom, Plaintiff claims that if one internal regulation did not specifically contain

constitutional restrictions still found in other regulations, it therefore represents unconstitutional

municipal policies. This is simply a non-sequitur. As one court phrased it in another context,

“[plaintiff’s] attempt to steal a base – that is, skipping over an essential (but faulty) premise of its

argument – must be rejected.” VS2, LLC v. United States, 155 Fed. Cl. 738, 768 (2021).

         Lastly, General Orders are not written policies promulgated by the City Council. Instead,

“[t]he Chief of Police will approve General Orders to establish: 1. Departmental policy or

procedures; 2. Policy or procedures affecting two or more bureaus. 3. Specific responsibilities

and/or duties.” DPD General Order 202.01(A). As noted above, the DPD Chief is a decisionmaker,

not a policymaker, so without a pattern or practice from which the City Council should have




7
 The City requests this Court take judicial notice of the fact that the DPD General Orders stretch hundreds of pages
and regulate DPD actions ranging from runaway children, auditing citation books, and arrest procedures.
https://dallaspolice.net/resources/Shared%20Documents/General-Orders.pdf (last visited 11/3/22.) Simply taking one
General Order and claiming it does not contain specific restrictions would render virtually every General Order
constitutionally invalid. For example, the General Order concerning dealing with “Foreign Nationals” contains no
specific limitations on the use of deadly force. Id. at pp. 123-24. Under Plaintiff’s logic, that General Order
unconstitutionally does not prohibit a City employee from firing a handgun at a “foreign national” without the requisite
cause.


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constructive or actual knowledge of constitutional deficiencies, these rules do not bind the City to

Monell liability.

         Therefore, even assuming all of Plaintiff’s claims of constitutional deprivations on June 1,

2020 are true, all of Plaintiff’s new allegations fail to show the City’s actual policymaker – the

City Council – was responsible for any of them.

         B. The New Complaint Does Not Remedy the Prior Complaint’s Many Failings

         Plaintiff’s new Complaint does not plead sufficient facts to state a Monell claim –

specifically, that none of the facts alleged show: (1) City policymakers either promulgated or

ignored unconstitutional policies of City employees violating citizens’ federal rights; (2) any

pattern or practice is alleged that plausibly can show City policymakers were deliberately

indifferent to City employees violating citizens’ federal rights; and (3) that any City policy, action,

or inaction alleged in the Complaint could plausibly have been the “moving force” behind

Plaintiff’s alleged injuries. All of Plaintiff’s “new” causes of action sound in the same allegedly

unconstitutional acts claimed in Plaintiff’s prior Complaint, except as discussed below. In addition

to the failure to plead facts from which this Court could infer that Plaintiff had identified the correct

policymaker, this Court found that Plaintiff’s prior Complaint lacked facts for several key elements

of his Monell claim. Plaintiff’s new Complaint fixed none of these flaws, and the City’s prior

Motion to Dismiss – as well as this Court’s dismissal Order – have already addressed these issues.8

Nonetheless, for the sake of clarity and judicial economy, the City requests the Court incorporate




8
 See Davis v. Baylor Regional Med. Ctr. at Grapevine, No. 3:11-cv-1350, 2013 WL 866173, at *1 (N.D. Tex. Mar.
8, 2013) (“If some of the defects raised in the original motion remain in the new pleading, the court may simply
consider the motion as being addressed to the amended pleading.”); see also New World Int'l, Inc. v. Ford Glob.
Techs., LLC, No. 3:16-CV-1112-M, 2017 WL 1078525, at *5 (N.D. Tex. Mar. 22, 2017), aff'd, 714 F. App'x 1021
(Fed. Cir. 2018)(“However, a motion to dismiss that attacks the original complaint for deficiencies that persist in the
amended complaint should not necessarily always be denied as moot. Rather, the court has the discretion to apply the
original motion to dismiss to the amended complaint.”)


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all the City’s prior arguments from its previous Motion to Dismiss and this Court’s holdings to all

of the new Complaint’s repetitions of the prior Complaint’s allegations.9

                 a. The Complaint Does Not Allege that the City’s Training or Oversight was
                    Obviously Deficient, Nor Any Pattern That May Show City Policy.

        Plaintiff’s prior Complaint’s claims that directly or indirectly allege failures to train, this

Court found Plaintiff failed to plead “sufficient allegations to state a plausible claim that the City’s

training policies or procedures were inadequate, let alone facts that could state a claim that the

need for more or different training was obvious.” (Doc. no. 23, p.21.) Seeking to plead around this,

Plaintiff now pleads that two months after the incident giving rise to this case, the DPD Chief

issued the “After Action Report,” (the “AAR,”) which supposedly found deficiencies in the City’s

response to the 2020 protests. Compl. ⁋⁋ 84-89. Plaintiff’s reliance on the DPD Chief’s AAR is

unavailing.

        First, under plain Fifth Circuit law, no pattern or practice can be gleaned from any alleged

bad acts committed on the day of an incident, no matter how well alleged. See Pena, 879 F.3d at

622 n.14 (“[A] plausible claim requires more than a recitation of the incident in which the plaintiff

was personally involved.”); Valle v. City of Houston, 613 F.3d 536, 548 (5th Cir. 2010) (“[E]ven

assuming that these later shootings involved excessive force, they are not sufficient to show that

the City was on notice of similar constitutional violations before Esparza was killed.” (emphasis

in original)); see also Connick v. Thompson, 563 U.S. 51, 62 n.7 (2011) (“[C]ontemporaneous or

subsequent conduct cannot establish a pattern of violations that would provide ‘notice to the cit[y]

and the opportunity to conform to constitutional dictates . . .’” (alteration in original) (quoting City


9
  New World Int'l, Inc., 2017 WL 1078525, at *5 (“The Court concludes, therefore, that in light of the Amended
Complaint and the Second Motion to Dismiss, the First Motion to Dismiss should be DENIED as moot, except to the
extent that positions taken in the First Motion to Dismiss, including the request for sanctions, are incorporated by
reference into the Second Motion to Dismiss.”)




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of Canton, Ohio v. Harris, 489 U.S. 378, 395 (1989)). Even assuming the City’s policymaker

uncovered failures to train and unconstitutional policies after the 2020 protests, that does not

remotely indicate City policymaker constructive knowledge of the alleged bad practices before the

protests. Therefore, because Plaintiff has not alleged the “general required” pattern or widespread

practice of any denials of constitutional rights, their section 1983 claims fail for lack of deliberate

indifference.

       Second, the facts as pled only show generalized assessments of problems dealing with

crowds the size of the unprecedented 2020 George Floyd protests. See, e.g. id., ⁋ 88 (“The AAR

concedes that DPD officers and supervisors clearly had not received sufficient prior training,

acknowledging that ‘it was clear to Field Commanders that regular and reoccurring training on

Mobile Field Force Tactics is needed’ as ‘officers and supervisors . . . appeared unsure as to the

best tactics during officer/protestor encounters.’”) Plaintiff also cites “after-the-fact changes,

subsequent adoption of policies” and other ensuing statements or training (id. ⁋ 92) does not speak

to the central issue of failure to train: whether “in light of the duties assigned to specific officers

or employees the need for more or different training is so obvious, and the inadequacy so likely to

result in the violation of constitutional rights,” a municipality might reasonably be found to be

deliberately indifferent. City of Canton, 489 U.S. at 390 (emphasis added.)

       Lastly, none of the alleged facts about the AAR display failures to train on any of Plaintiff’s

Fourth or First Amendment issues. Here, in the Fourth Amendment excessive force context, for

the City to be liable to be liable for failure to supervise, “it at least must have been obvious that

‘the highly predictable consequence’ of not supervising its officers was that they ‘would apply

force in such a way that the Fourth Amendment rights of [citizens] were at risk.’” Peterson, 588

F.3d at 850 (quoting Brown, 219 F.3d at 461)). The Complaint – and common knowledge – speak




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to no prior mass protests in Dallas, much less a pattern of City employee misbehavior in them.

Further, the AAR speaks to no failures to train on First Amendment press freedom issues, the

second area of Plaintiff’s grievances The new Complaint, therefore, does not plead facts that any

need for additional crowd control training was “obvious” to the City’s policymakers.

               b. No Facts in The New Complaint Plausibly Plead Deliberate Indifference.

A pattern of similar constitutional violations by untrained employees is “ordinarily necessary” to

demonstrate deliberate indifference. Bd. of Cnty. Comm'rs of Bryan Cnty., Okl. v. Brown, 520 U.S.

397, 409 (1997). “A pattern is tantamount to official policy when it is so common and well-settled

as to constitute a custom that fairly represents municipal policy.” Id. (quotation marks and citation

removed.) Where a plaintiff relies on prior incidents to prove a pattern, “they must have occurred

for so long or so frequently that the course of conduct warrants the attribution to the [municipality]

that the objectionable conduct is the expected, accepted practice of [municipality] employees.” Id.

       This Court found Plaintiff’s prior Complaint did not plead deliberate indifference by the

City’s policymaker because it only cited one prior protest event and incidents on or around

Plaintiff’s alleged injury. (Doc. no. 23, pp. 12-13.) The handful “of isolated instances [alleged] are

insufficient to satisfy the elements of a ‘persistent, widespread practice of City officials or

employees which, although not authorized by officially adopted and promulgated policy, is so

common and well settled as to constitute a custom that fairly represents municipal policy.’” Id., p.

13. (citation omitted.) The new Complaint alleges no new instances of purported violations of

similar City employee misconduct prior to the incident at issue. Therefore, the new Complaint

does not allege an unconstitutional pattern either to show a City policy nor deliberate indifference

towards training and oversight.




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       Further, the new Complaint squarely assigns all alleged deliberate indifference to non-

policymaker Chief Hall. See, e.g. Compl. ⁋ 77 (“Therefore, in 2018, DPD Chief Hall was aware

that there was a substantial likelihood that DPD officer would fire KIPs directly into crowds . . .

[yet] DPD Chief Hall failed to implement any policies to prevent this substantial likelihood from

occurring again.”) Even assuming Chief Hall was aware of policy and training failings within the

DPD, as a decisionmaker, she could not bind the City to Monell supervisory liability.

               c. The New Complaint Fails to Plead Any Plausible “Moving Force”
                  Causation.

       Plaintiff asserts only conclusory allegations of causation and fails to connect the lack of

training or procedures to the complained-of injury. Plaintiff must allege facts which show “moving

force” causation to establish his § 1983 claims. Valle, 613 F.3d at 542. To show “moving force

causation,” Plaintiff must demonstrate a “direct causal link” between the municipality’s policy and

the deprivation of Plaintiff’s federal rights. Id. at 542, 546 (citing Brown, 520 U.S. at 404). “[T]he

connection must be more than a mere ‘but for’ coupling between cause and effect. The deficiency

in training, hiring, or supervision must be the actual cause of the constitutional violation.”

Valle, 613 F.3d at 546 (quotation omitted).

       This Court previously found, as to Plaintiff’s prior Complaint’s policy allegations, there

was no “moving force” causation alleged where there were insufficient prior instances of City

employee malfeasance. (Doc. no. 23, p. 19.) Whether for showing causation for failures to

train/supervise, or for his policy claims, because Plaintiff alleges no new patterns of prior City bad

acts, his claims again fail for lack of facts from which this Court can infer the requisite causation.

       Further, for reasons cited above, none of Plaintiff’s new claims about General Orders’

supposed unconstitutionality sufficiently plead “moving force” causation. First, these General

Orders were promulgated by then-DPD Chief Hall. Compl. ⁋ 161. She was not the City’s



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policymaker, so therefore, no actual City actions caused Plaintiff’s alleged injuries. Second,

Plaintiff’s conclusory pleading that these General Orders did not specifically contain restrictions

on use of force – as opposed to specifically unrestricting use of force – cannot overcome his lack

of any pattern of prior City employee bad acts.

       With no accusations that City employees could have been aware of more than one instance

of an arguable misuse of force two years prior to the incident at issue, Plaintiff’s new Complaint

does not plausibly allege City policymakers “created a culture that emboldened the officers in this

case to engage in the conduct that resulted in” any alleged deprivations or injuries asserted here.

Sanchez, 283 F.Supp.3d at 544.

       Therefore, Plaintiff’s new Complaint fails to allege facts from which this Court can infer

that any City policy or indifference was the “moving force” of the wrongs alleged.

                                     IV.    CONCLUSION

       Plaintiff’s new Complaint offers no new substantive allegations that the City itself caused

his alleged injuries. As before, his new Complaint amounts to little more than respondeat superior

liability. Therefore, the new Complaint – and Plaintiff’s claims in total – must be dismissed with

prejudice.




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                                CERTIFICATE OF SERVICE

         I certify that on November 21, 2022, I electronically filed the foregoing document with the
clerk of court for the U.S. District Court, Northern District of Texas, using the CM/ECF electronic
case filing system of the court. The electronic case filing system will send a “Notice of Electronic
Filing” notification to all case participants registered for electronic notice, including all pro se
parties and/or attorneys of record who have consented in writing to accept this Notice as service
of this document by electronic means.

                                              s/ J. Cheves Ligon
                                              J. Cheves Ligon




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